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                  UNITED STATES DISTRICT COURT FOR
                     MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION


 SUNTRUST EQUIPMENT                 )
 FINANCE &                          )
 LEASING CORP.,                     )
                                    )
       Plaintiff /                  ) Case No.: 6:19-cv-01624-CEM-LRH
       Counter-Defendant,           )
                                    )
 v.                                 )
                                    )
 INTERNATIONAL SPEEDWAY             )
 CORPORATION,                       )
                                    )
       Defendant /                  )
       Counter-Claimant.            )
                                    )

            PLAINTIFF / COUNTER-DEFENDANT SUNTRUST
              EQUIPMENT FINANCE & LEASING CORP.’S
            REPLY IN SUPPORT OF SUMMARY JUDGMENT

       In response to STEFL’s summary judgment motion, ISC argues that it

 terminated the Sublease pursuant to the Addendum. But ISC only purported

 to exercise its termination “right” on May 22, 2019, over a month after

 STEFL exercised its own right under the Sublease to accelerate all

 outstanding rent. Thus, even if the Addendum were enforceable (which it is

 not), ISC would still owe STEFL all outstanding rent under the Sublease, and

 STEFL would still be entitled to summary judgment on its contract claim.
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       Recognizing this problem, ISC argues that STEFL’s acceleration of rent

 was void because it violated the automatic stay in DC Solar’s bankruptcy.

 But ISC lacks standing to raise DC Solar’s bankruptcy protections, and its

 argument fails on its merits.   And in any event, the sole basis for ISC’s

 purported termination of the Sublease—the Addendum—is invalid and

 unenforceable.

  I.   STEFL’S ACCELERATION OF RENT UNDER THE SUBLEASE
       WAS VALID.

       STEFL accelerated rent on April 9, 2019, over a month before ISC

 purported to terminate the Sublease. See Doc. 96 at 9. Consequently, ISC

 still owes STEFL all outstanding rent under the Sublease even if ISC’s

 termination was valid. As STEFL has explained, see Doc. 96 at 21–23, under

 the UCC, “any right based on prior default or performance survives”

 termination of a lease agreement. Cal. Com. Code § 10505(b). STEFL’s right

 to accelerate was based on ISC’s prior March 2019 default of refusing to pay

 rent. See Doc. 96-17.

       ISC does not challenge the fact that a purported termination of the

 Sublease would not alter the impact of a prior acceleration of rent. Rather,

 ISC argues for the first time in this case (despite STEFL’s having pleaded the

 April 9, 2019 acceleration from the outset of the case, see Compl. (Doc. 1)

 ¶¶ 83–84) that STEFL’s acceleration violated the automatic stay in DC


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 Solar’s bankruptcy and was therefore void.      ISC’s argument fails for two

 reasons: (1) as a non-debtor, ISC lacks standing to enforce the stay in this

 way; and (2) as this Court has already observed, STEFL received an

 assignment of DC Solar’s rights under the Sublease before DC Solar filed for

 bankruptcy. The right to rent that STEFL enforced through acceleration was

 accordingly STEFL’s property, not property of the bankruptcy estate.

       A.    ISC Lacks Standing to Enforce the Automatic Stay.

       ISC lacks standing to enforce the automatic stay in DC Solar’s

 bankruptcy. “To have standing, a party must assert an injury within the

 zone of interests of the Bankruptcy Code.” Zurich Am. Ins. Co. v. Hardin, No.

 8:14-CV-775-T-23AAS, 2019 WL 2137449, at *1 (M.D. Fla. May 16, 2019).

 The automatic stay protects the interests of the debtor by shielding it from

 financial pressure during bankruptcy and of creditors by protecting orderly

 disbursement of the debtor’s estate. See id. (citing Carver v. Carver, 954 F.2d

 1573, 1576 (11th Cir. 1992)).

       ISC is not the debtor. And while ISC is a creditor of DC Solar, “[o]nly

 the Trustee is empowered to protect property of the estate.” In re Stadler,

 No. BKR. 04-91944, 2005 WL 6487189, at *2 (Bankr. N.D. Ga. Mar. 31, 2005).

 Accordingly, “an unsecured creditor may not pursue a stay violation on behalf

 of a bankruptcy estate.” Id. DC Solar’s Trustee has not invoked the stay

 here. To the contrary, the Trustee knew of the litigation between STEFL and

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 ISC, and informed the bankruptcy court—after ISC filed a brief in which it

 argued that STEFL had violated the automatic stay—that she was “willing to

 permit the litigation . . . to go forward.” See In re Double Jump, Inc., No. 19-

 50102-gs, Doc. 561 (ISC Reply Brief) at 3–5 (Bankr. D. Nev. Apr. 10, 2019),

 Doc. 641 (Joint Mot. to Vacate the May 24, 2019 Evidentiary Hearing)

 (Bankr. D. Nev. Apr. 29, 2019) at 4.

       Furthermore, to the extent ISC suffered a unique injury from STEFL’s

 acceleration of rent, it was not as a creditor of DC Solar. The automatic stay

 is intended to preserve the bankruptcy estate and benefit creditors.

 Permitting ISC to avoid making Sublease payments does not benefit the

 estate or its creditors; it only benefits ISC as a sublessee. It thus falls outside

 the zone of interests protected by the automatic stay.         See In re Nilhan

 Developers, LLC, 622 B.R. 795, 802 (Bankr. N.D. Ga. 2020); In re Peeples, 880

 F.3d 1207, 1215 (10th Cir. 2018).

       B.    STEFL’s Right to Rent from ISC Was Never Part of the
             Bankruptcy Estate or Subject to the Automatic Stay.

       More basically, ISC’s argument fails because STEFL’s acceleration of

 rent was never subject to the automatic stay. As STEFL explained in its

 motion, it obtained a contractual right to rent from ISC in three different

 ways: as a third-party beneficiary to the Sublease, as a secured creditor of DC

 Solar, and through an assignment of rights from DC Solar. See Doc. 96 at


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 12–13. ISC’s response focuses on the security interest, arguing that STEFL’s

 exercise of its rights as a secured creditor did not take the Sublease rental

 payments out of the bankruptcy estate. See Doc. 102 at 18–19. But ISC does

 not discuss DC Solar’s assignment of its rights under the Sublease to STEFL.

         A prepetition assignment of rent or other payment streams removes

 them from the bankruptcy estate, and thus beyond the reach of the automatic

 stay.    See, e.g., In re Jones Const. & Renovation, Inc., 337 B.R. 579, 586

 (Bankr. E.D. Va. 2006); In re Brooks, 248 B.R. 99, 105–06      (Bankr. W.D.

 Mich. 2000). This Court has already observed that STEFL received a “clear

 and unqualified” assignment of DC Solar’s rights under the Sublease. Doc.

 69 at 16. ISC does not challenge the validity or nature of this assignment.

 And there is no dispute that the assignment occurred before DC Solar’s

 bankruptcy. See Doc. 96-8 at 3; Doc. 96-10 at 3.

         Were there any doubt about whether DC Solar retained any interest in

 the right to rent under the Sublease, STEFL directed ISC on January 15,

 2019 to begin making rental payments directly to STEFL. See Doc. 96 at 9.

 And on January 28, 2019, STEFL exercised its right against DC Solar to

 terminate the Equipment Schedules, thereby cutting off any property rights




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 DC Solar had in the MSGs being rented. See Doc. 96-25.1 Both actions took

 place before DC Solar filed for bankruptcy on February 4, 2019.

       Finally, the bankruptcy court never ruled that the rents assigned to

 STEFL were part of the bankruptcy estate or subject to the automatic stay,

 despite ISC’s request for such a ruling. See In re Double Jump, No. 19-50102-

 gs, Doc. 561 (Bankr. D. Nev. Apr. 10, 2019), Doc. 722 (Bankr. D. Nev. May 14,

 2019). Instead, the court noted that the Trustee stated she would not assume

 any of DC Solar’s subleases or contracts with ISC, thereby rendering them

 rejected as a matter of law, and accordingly granted ISC’s motion for relief

 from the automatic stay. See id., Doc. 722 at 3; 11 U.S.C. § 365(d)(1).

 II.   THE ADDENDUM IS UNENFORCEABLE.

       Further, the basis of ISC’s purported termination of the Sublease—the

 Addendum—is invalid because it abrogated STEFL’s rights as a third-party

 beneficiary and violated the implied covenant of good faith and fair dealing.

       First, ISC does not contest the well-accepted principle that parties may

 not discharge or modify a promise to an intended beneficiary if the

 beneficiary, “before he receives notification of the discharge or modification,

 materially changes his position in justifiable reliance on the promise or

 brings suit on it or manifests assent to it at the request of the promisor or

 1 As STEFL explained in its motion and ISC has not disputed in its response,
 STEFL’s January 28, 2019 termination of the Equipment Schedules did not
 terminate the Sublease itself. See Doc. 96 at 16–18.

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 promisee.” Rest. (2d) Contracts § 311(3); see ISC Br. at 11. Here, STEFL,

 one day after receiving the incomplete Sublease and without knowledge of

 the Addendum, purchased and leased $45 million in MSGs (and shortly

 thereafter another $30 million) in reliance on the Sublease.

       ISC contends that STEFL’s reliance was not “justifiable” because the

 Sublease allowed ISC and DC Solar to amend it. This vastly overstates the

 bar for a beneficiary to rely on a promise made for its benefit. See Rest. (2d)

 Contracts § 311 cmt. g (“In the absence of some contrary indication, an

 intended beneficiary is justified in relying on the promise.”). Contractual

 language that merely states the parties may later modify the contract (which

 right exists even absent such a provision) does not preclude a beneficiary

 from relying on the contract. See Cent. States, Se. & Sw. Areas Pension Fund

 v. Standard Elec. Co., 87 F. Supp. 3d 810, 815–16 (N.D. Ill. 2015).

       ISC also argues that, because it immediately “amended” the Sublease

 before STEFL even had a chance to read the original (incomplete) version it

 received, STEFL could not have relied on or assented to the Sublease prior to

 the amendment. ISC’s arguments in this regard reveal the insidious nature

 of its deal with DC Solar and why the Addendum is truly not an enforceable

 amendment. ISC’s argument purports to rest on the Restatement’s language,

 and on similar language from California courts, that the power to modify

 “terminates” once the beneficiary acts in reliance before receiving notification

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 of the modification. See ISC Br. at 11. ISC infers from this language that

 any modification done before the right “terminates” (i.e., once the third party

 acts in reliance) must therefore be valid, even if concealed from the

 beneficiary.

       The comments and illustrations to Section 311 of the Restatement,

 however, confirm that, so long as a beneficiary relies on a promise without

 notification of its modification, the modification is ineffective against the

 beneficiary even if made before the beneficiary acted. See Rest. (2d) Contracts

 § 311, cmt. g & h, ill. 9.    The reasoning behind this rule is clear, and

 consistent with STEFL’s position: allowing amendment of a contract to the

 detriment of a third-party beneficiary without its consent or knowledge is

 inequitable when the beneficiary has relied on the unamended contract.

       ISC cites no case that holds a party may avoid this rule by entering into

 an undisclosed “amendment” simultaneously with the main contract. The

 lack of precedent on this issue is unsurprising, given the limited

 circumstances under which it might arise. Since an intended beneficiary’s

 rights vest as soon as it manifests assent to the contract, ISC’s timing

 argument would only come up in the clearly inequitable, and apparently

 unprecedented, situation where parties amend a contract before giving it to

 the beneficiary and then subsequently hide the amendment.            The Court

 should not allow this case to be the first endorsing such conduct.

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        Even if such skirting of the rules against modification of third-party

 promises were permitted, it was a clear breach of the implied duty of good

 faith and fair dealing. See Cal. Com. Code § 1304. The entire purpose of the

 Addendum was to undo—in secret—a standard and important leasing term

 (the hell-or-high-water clause) material to STEFL’s decision to do the deal.

        ISC’s argument that the Addendum cannot violate the duty of good

 faith because ISC was authorized to amend the Sublease misses the point. It

 is precisely where a party can exercise discretion under a contract that the

 duty applies. California law is clear that the duty of good faith applies to a

 party’s power to amend a contract. See Cobb v. Ironwood Country Club, 233

 Cal. App. 4th 960, 966 (Cal. Ct. App. 2015). The defendant in Cobb, like ISC,

 argued that, because it had a contractual right to amend, it could force an

 amendment (there, an arbitration clause) that negatively affected the

 plaintiff. Id. at 965–66. That is what happened here: ISC and DC Solar

 amended the Sublease without STEFL’s knowledge—much less its consent—

 in a manner that significantly impeded STEFL’s rights under the Sublease.2

 III.   ISC’S OTHER ARGUMENTS FAIL TO RAISE FACT ISSUES.

        ISC has not raised a fact issue on damages that should preclude

 summary judgment on STEFL’s contract claims.            While ISC references



 2 STEFL withdraws its argument that the Addendum is invalid because it was not
 supported by consideration.

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  potential “re-leasing or selling” of the MSGs, see Doc. 102 at 22, it is ISC’s

  burden to establish that doing so would have been a reasonable way for

  STEFL to mitigate damages. See, e.g., Millikan v. Am. Spectrum Real Estate

  Servs. Cal., Inc., 117 Cal. App. 4th 1094, 1105 (Cal. Ct. App. 2004).

  Moreover, California courts use mitigation “sparingly in the contract or

  commercial context,” particularly where a liquidated sum is at issue. Valle

  de Oro Bank v. Gamboa, 26 Cal. App. 4th 1686, 1691 (Cal. Ct. App. 1994); see

  also Vitagraph, Inc. v. Liberty Theatres Co. of Cal., 242 P. 709, 711 (Cal.

  1925). ISC’s response does not explain how re-leasing or selling the MSGs

  would have been reasonable for STEFL to do under the circumstances.

        Likewise, while ISC contends that STEFL’s expert used an incorrect

  discount rate in some of his damages calculations, it does not dispute that the

  amount of outstanding rent under the Sublease is $46,903,073. See Doc. 102

  at 22.   And whether ISC is entitled to offset will depend on whether its

  counterclaims have merit. In any event, a fact issue on damages would still

  not preclude summary judgment on liability for STEFL’s contract claim.

        Finally, while ISC disputes some of STEFL’s other arguments, see, e.g.,

  Doc. 102 at 12, none are necessary for the Court to resolve to find for STEFL

  on its contract claim.

                                 CONCLUSION

        STEFL’s summary judgment motion should be granted.

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        Respectfully submitted, this 2nd day of March, 2021.

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                        CERTIFICATE OF SERVICE

        I hereby certify that on this date, I electronically filed the foregoing

  document with the Clerk of Court using the CM/ECF system which

  automatically sends e-mail notification of such filing to any attorneys of

  record.

        This 2nd day of March, 2021.

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